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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

Case No. 2:18-cv-08420-RGK-PJW Date January 2, 2024
Title United States v. $1,546,076.35 in Bank Funds Seized from Republic Bank of Arizona
Account 1889 et al

Present: The Honorable R.GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

Joseph Remigio Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiff: Attorneys Present for Defendants:
Not Present Not Present
Proceedings: (IN CHAMBERS) Order Re: Motion for Release of Funds [DE 270]

I. INTRODUCTION

In April 2018, the United States (the “Government’’) seized funds held by John Brunst and The
Brunst Family Trust (collectively, “Claimants”). On September 28, 2018, the Government initiated the
instant civil forfeiture proceedings. (ECF No. 1.) Brunst was subsequently indicted and tried in a related
criminal matter, United States v. Lacey, 2:18-cr-00422-PHX-DJH (D. Ariz.).

Presently before the Court is Claimants’ Motion to release $1.5 million in seized funds to pay for
Brunst’s criminal defense. (ECF No. 270.) Because the Motion was filed while the criminal trial was
ongoing, the Court deferred consideration of the Motion until after the trial’s conclusion. On November
16, 2023, the jury returned a verdict convicting Brunst on numerous counts and acquitting him on many
others. After the trial, the Court ordered the parties to submit supplemental briefing addressing whether
the jury verdict materially altered their previously submitted arguments. The Court has considered all
briefing and DENIES the Motion for the following reasons.

Il. FACTUAL BACKGROUND

In April 2018, the Government seized approximately $9 million in funds held by Claimants (the
“Seized Funds”). Later that year, on September 28, 2018, the Government initiated the instant civil
forfeiture proceedings against the Seized Funds. The Government additionally placed liens on two real
properties owned by Brunst: (1) his current residence and (2) a cabin in Pinetop, Arizona. Following the
November 16, 2023 jury verdict, the Government did not seek forfeiture of Brunst’s real properties.
Accordingly, the parties appear to agree that neither real property is currently subject to forfeiture.

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It. JUDICIAL STANDARD

The Sixth Amendment’s guarantee of legal representation to a criminal defendant is not absolute.
A criminal defendant represented by retained counsel is limited to hiring an attorney whose fees he can
afford. Luis v. United States, 578 U.S. 5, 12 (2016). Additionally, the Sixth Amendment does not
guarantee a criminal defendant the right to expend illegally obtained assets on his defense. Caplin &
Drysdale, Chartered v. United States, 491 U.S. 617, 626 (1989). Therefore, a criminal defendant’s Sixth
Amendment rights are not violated if he is prevented from expending forfeitable assets on his criminal
defense. United States v. Monsanto, 491 U.S. 600, 615 (1989).

A criminal defendant may challenge the forfeitability of his assets if he presents a “sufficiently
definite, specific, detailed, and nonconjectural” argument that demonstrates seized funds are untainted
and necessary to mount a legal defense. See United States v. Unimex, Inc., 991 F.2d 546, 551 (9th Cir.
1993) (quoting Cohen v. United States, 378 F.2d 751, 761 (9th Cir. 1967)) (internal quotation marks
omitted). A court must allow a defendant who makes this initial showing to present evidence regarding
the nonforfeitability of the assets at a “hearing scheduled at a meaningful time and in a meaningful
manner.” Jd. (quoting United States v. Crozier, 777 F.2d 1376, 1383 (9th Cir. 1985)) (internal quotation
marks omitted). Such a hearing is often referred to as a Monsanto hearing.

IV. DISCUSSION

Claimants have filed a Motion to release $1.5 million in seized funds to pay for Brunst’s criminal
defense. A petition to release property in a civil forfeiture case is generally governed by Federal Rules of
Civil Procedure Supplemental Rule G. Supp. R. Fed. R. Civ. P. G(1), (8)(d). But when, as here, a
claimant seeks funds to defend himself in a related criminal proceeding, he may request immediate
release of those funds if he otherwise lacks sufficient assets for his defense. (Minute Order at 3 n.2, ECF
No. 235.) See also United States v. Farmer, 274 F.3d 800, 804 (4th Cir. 2001) (describing a criminal
defendant whose assets were subject to civil forfeiture proceedings as “in the same position as a criminal
defendant whose assets are seized pursuant to criminal forfeiture.””). Therefore, Claimants are entitled to
a Monsanto hearing if they can show that the Seized Funds are likely untainted and needed for Brunst’s
criminal defense. See Unimex, 991 F.2d at 551. “Although the Ninth Circuit has not spoken directly to
the issue, numerous other circuits have required at least some showing that the [criminal defendant]
lacks other funds to pay counsel” before granting a Monsanto hearing. Matter of Seizure of: Any and All
Funds Held in Republic of Ariz. Accts., 2019 WL 8892585, at *8 (C.D. Cal. Dec. 20, 2019).

Here, Claimants fail to demonstrate that Brunst lacks means other than the Seized Funds to pay
for his legal defense, since it appears that the nonforfeitable real property could sufficiently cover
Brunst’s legal fees. To be sure, Brunst argues that he “should not be required to move out of his
residence” given the existence of the Seized Funds. But although using his nonforfeitable assets to pay

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legal fees might be undesirable, Brunst has not argued that the Seized Funds are his only means of
funding his criminal defense. Therefore, Claimants have not shown that they are entitled to a Monsanto

hearing.
¥. CONCLUSION

For the foregoing reasons, the Court DENIES the Motion.

IT IS SO ORDERED.

Initials of Preparer JRE/ak

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